         Case 2:19-cr-00642-VAP Document 15 Filed 10/30/19 Page 1 of 1 Page ID #:137



                                                                                                       FILED
                                                                                             CLERK. US. D!STRIC7 CfJURT
                                                                                              i


                                                                                                  ~i' 3 2019
                                                                                            ~h"fHAL uiSTR~ ~Ur CALF


                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                       CASE NUMBER
                                                     PLAINTIFF
                                                                 CR No. 19-00642-
 Imaad Shah Zuberi
                                                                             WAIVER OF INDICTMENT
                                                DEFENDANT(S).


     I Imaad Shah Zuberi                                                                   the above-named defendant,
who is accused of Violation of the foreign agents registration act. Tax evasion. Foreign,conduit, and other acts. , in

violation of 22 U.S.C. 612, 618(a)(2): 26 U.S.C. 7201: 52 U.S.C. 30116,301 ]8,30]21,30122,30109(d)(1):            ,being
advised of the nature of the charge, the proposed information, and of my rights, hereby waive in open court on
 10/30/2019                                    prosecution by indictment and consent that the proceedings may be by
information rather than by indictment.


                                                                  Defendant


                                                                  Counselfor Defendant


if defendant is not an English speaker, include the following:
I,                                         , am fluent in written and spoken English and
languages. I accurately translated this Waiver of Indictment from English into
to defendant                                                 on this date.


Date
                                                                  Interpreter


Before
                            Judicial Officer


                                                    WAIVER OF INDICTMENT
CR-57(05/08)[AO 455 Rev. 5/85]                                                                                   Page 1 of 1
